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U.S. Department of Justice

Clinton J. Johnson
United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300
Telephone (918) 382-2700
Tulsa, Oklahoma 74119

December 14, 2022

Re: United States v. Richard Dale Deeter, Jr., et al.

Counsel:

This letter provides you with expert witness notice and the anticipated testimony
pursuant to Rule 16 of the Federal Rules of Criminal Procedure for Nathan B.
Willman. The government intends to call Mr. Willman as an expert in the means
and methods of operations of prison gangs, including the Universal Aryan
Brotherhood (UAB) in particular, and gang affiliations of the defendants.

Mr. Willman is the Chief Intelligence Analyst for the Oklahoma Department of
Corrections, Intelligence Division. He will testify in general about prison gang
activity and more specifically about the history, culture, codes of conduct, methods
of operation and communication, and behaviors of the UAB. The testimony will
encompass the following information:

The UAB was formed in the 1990’s in Oklahoma State Penitentiary in McAlester,
Oklahoma. The UAB is a “whites only” violent gang that embraces ideology that is
common to white-supremacist organizations throughout the United States, some of
which originated from the Nazi regime in Germany. The UAB employs various
symbols, phrases, and acronyms. These symbols, phrases, and acronyms each have
a unique meaning, demonstrate affiliation with the UAB and are commonly found
in tattoos and used in communications via text or voice conversations between
UAB members and UAB associates. These symbols, phrases, and acronyms are
commonly posted on social media such as Facebook by UAB members and UAB
associates to demonstrate their loyalty and affiliation to the UAB.

The central governing body of the UAB is known as the Main Council. Each prison
facility has a Yard Captain who carries out the orders of the Main Council and is
responsible for all gang activity at his facility to include overseeing drug distribution
and the smuggling of contraband into the prison. UAB members not holding a

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leadership position are considered to be Soldiers and are expected to follow orders,
distribute methamphetamine, carry out violent crimes, and participate in all gang
activity.

“Featherwoods” are female UAB associates that are commonly girlfriends or wives
of UAB members. Featherwoods carry out acts of violence, distribute illegal drugs,
handle drug proceeds, and participate in other criminal activities as directed by
UAB members. There are also other associates of the UAB as well, who act as drug
couriers, stash house operators, and money couriers.

The UAB is a prolific drug trafficking organization, which has established alliances
with Mexican drug trafficking organizations that allow access to large quantities of
methamphetamine at low prices. UAB leaders who are incarcerated direct hundreds
of UAB members in methamphetamine distribution in cities, small towns, and rural
areas throughout Oklahoma. UAB members and associates also transport wholesale
quantities of methamphetamine to other states outside of Oklahoma. In conjunction
with the large-scale methamphetamine operation, the UAB also launders millions of
dollars in drug proceeds using bank deposits, wire transfers, bulk cash smuggling,
PayPal, Walmart to Walmart transfers, and stored value cards such as Green Dot.

The UAB defends its drug distribution interests with violence and threats of
violence, including against those who owe drug debts.

Sincerely,

Chnton J. Johnson
United States Attorney

/s/ David A. Nasar
David A. Nasar
Assistant United States Attorney

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I have reviewed and approve of the summary of my anticipated testimony.

Dated: December 14, 2022.

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Nathan B. Willman
Oklahoma Department of Corrections

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